                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA



 IN RE: Change Healthcare, Inc. Customer                   MDL No. 24-3108 (DWF/DJF)
 Data Security Breach Litigation


 This Document Relates to All Actions                                            ORDER



       Based upon a number of inquiries regarding Defendants’ deadlines to answer or

otherwise respond to the complaints filed in this MDL,

       IT IS HEREBY ORDERED that Defendants’ deadlines to answer or otherwise

respond to Plaintiffs’ complaints are hereby extended until such time that the Court

establishes a timeline for such responses. By separate order, the Court will set a status

conference for a date and time to be determined in for all cases in the MDL.


Dated: June 20, 2024                      s/Donovan W. Frank
                                          DONOVAN W. FRANK
                                          United States District Judge
